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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



ASADULLAH HAROON “AL AFGHANI”                                 No. 1:16-cv-01462
    GUL, DETAINEE AT
GUANTANAMO BAY, CUBA
             Petitioner/Plaintiff

                         v.

BARACK H. OBAMA,
PRESIDENT OF THE UNITED STATES

ASHTON B. CARTER,
SECRETARY OF DEFENSE

REAR ADMIRAL PETER J. CLARKE,
COMMANDER, JOINT TASK FORCE
     GUANTANAMO

                  Respondents/Defendants


           UNOPPOSED MOTION FOR ENTRY OF PROTECTIVE ORDER

       Petitioner’s counsel are attempting to initiate contact with their client, Petitioner

Asadullah Haroon “al Afghani” Gul. Specifically, counsel plans to travel to Guantánamo Bay to

visit their client in August 2016. Respondents have informed counsel that unless the Protective

Order described below is entered in this case, counsel will not be permitted to correspond or

meet with Mr. Gul. Petitioner therefore respectfully moves for the expedited entry of the

following Order: Protective Order and Procedures for Counsel Access to Detainees at the United

States Naval Base in Guantanamo Bay, Cuba, issued on September 11, 2008 (In Re Guantánamo

Bay Detainee Cases, Misc. No. 08-0442).




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       Entry of the Protective Order would permit counsel the opportunities accorded counsel in

other Guantánamo Bay detainee cases in which the Protective Order has been entered to send

mail to petitioners by way of the legal mail procedures outlined in the Protective Order and to

visit petitioners at Guantánamo Bay, upon compliance with the terms of the Protective Order.

Pursuant to Local Civil Rule 7(m), undersigned counsel for Petitioners conferred with

Respondents’ counsel on July 19, 2016. Respondents’ counsel do not oppose this motion. A

proposed order is attached.


Dated: August 1, 2016


                                           Respectfully submitted,


                                              /s/ Tara J. Plochocki
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                                           Counsel for Petitioner




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